        Case: 3:08-cr-00074-jdp Document #: 81 Filed: 11/06/08 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                               ORDER
                            Plaintiff,
                                                               08-cr-74-bbc
              v.

SCOTT M. ANDRUSS,

                            Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       In light of defendant Scott Andruss's serious and dangerous criminal conduct

involving five armed robberies of commercial establishments, his unstable family situation,

his history of drug abuse and the 63 month sentence of imprisonment that he is facing, his

request for a furlough to attend his grandmother's funeral on November 7, 2008, is

DENIED.

       Entered this 6th day of November, 2008.

                                          BY THE COURT:
                                          /s/
                                          BARBARA B. CRABB
                                          District Judge




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